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IN THE U'NITED STATES DISTRICT COURT `l£»/ bd
FOR THE WESTERN DISTRICT OF TENNESSEE '¢".ED BY . -~- ‘
WESTERN DIVISION

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GREGORY BRAY,
w:;§ D~; Wri

Plaintiff,
vs. No. 04-2626 MaP
GERALD STIPANUK, ET AL.,

Defendants.

 

ORDER GRANTING IN PART DEFENDANTS' MOTION FOR A.N
ORDER REQUIRING THE MEDICAL PROVIDERS OF THE PLAINTIFF
TO RELEASE THE PLA.INTIFF'S MEDICAL RECORDS

 

Before the Court is Defendants Gerald Stipanuk, Tony Cooper,
and Lyle Reece’s Motion for an Order Requiring the Medical
Providers of the Plaintiff to Release the Plaintiff's Medical
Records, filed May ll, 2005 (dkt #36). Plaintiff Gregory Bray
filed his response on May 18, 2005. For the following reasons, the
motion to compel is GRANTED in part.

I . BACKGROUND

Bray, pro se, filed a complaint pursuant to 42 U.S.C. § 1983
on August 9, 2004 in connection with his confinement at the Shelby
County Criminal Justice Center (“Jail”). The complaint asserts a
number of claims about Bray’s experiences at the Jail. Several
claims and defendants have been dismissed by the Court, but claims

related to the Jail’s officials failing to provide adequate

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treatment for his back injury and urination problems are still
pending. (_g§ Order of Partial Dismissal dated Dec. 30, 2004.)
Apparently, Bray suffered a back injury when he fell in the Jail's
showering facility on February 6, 2004. The complaint does not
state, however, when Bray's problems related to his inability to
control his bladder arose. Presumably, his urination problems
originated prior to his detention at the Jail.

Defendants seek an order requiring medical providers to
release Bray's medical records. They claim that these records are
needed “so that a proper medical history of the plaintiff can be
created.” Bray argues that such an order would violate his privacy
rights related to his medical records and that the request should
be limited to medical records after January 23, 2004.l

II . A.NALYSIS

Courts have recognized an individual's privacy interest in his
or her medical records. gee Whalen v. Roe, 429 U.S. 589, 602
(1977); Doe v. SEPTA, 72 F.3d 1133, 1137 (3d Cir. 1995); Lankford
v. Citv of Hobart, 27 F.3d 477, 479 (lOth Cir. 1994); Gen. Motors
Corp. v. Dir. of Nat'l Inst. of Occupational Safetv and Health, 636
F.2d 163, 166 (6th Cir. 1980); Dodqe v. Trustees of Nat’l Gallery
of Art, 326 F.Supp.2d 1, 16 (D.D.C. 2004). “This privacy interest,

however, is neither an absolute right nor dispositive in. all

 

lIt appears as thought January 23, 2004 was the date of
Bray’s initial detention. (See Motion to Leave to Proceed In
Forma Pauperis, Aug. 9, 2004, at 3.)

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circumstances.” In re Grand Jury Subpoena, 197 F.Supp.Zd 512, 514
(E.D. Va. 2002)(citing Whalen, 429 U.S. at 602; §§£IA, 72 F.3d at
1138). The privacy interest of a patient must be weighed against
opposing interest ill a particular set of circumstances. gee
Whalen, 429 U.S. at 602, 97 S.Ct. 869 (balancing possible harms
against the state's interest in prescription drug reporting
requirements); §§§IA, 72 F.3d at 1138 (balancing possible harms
against an employer’s need to access prescription records for the
limited_purpose of monitoring health care expenditures); Taylor v.
§§§;, 746 F.2d 220, 225 (4th Cir. 1984) (balancing an inmate’s
privacy interest in his medical records with the public interests
in assuring the security of prisons and in effective
rehabilitation).

By alleging that Jail officials failed to treat properly his
back and urination problems, Bray has put directly at issue his
medical records concerning these injuries, which reduces his
privacy interest. There is an important public interest in parties
disclosing information that is at the center of a controversy so as
to promote efficiency and justice. On balance, this Court finds
that Bray's privacy interest with respect to his medical records
concerning his back and urination problems are outweighed by the
interests of an efficient and just resolution of a controversy.
That does not, however, encompass all of Bray's medical records,
and the Court limits discovery to medical records relating to back

and urination problems. The Court also finds it appropriate to

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require the Defendants to maintain the confidentiality of these
documents and use them only for the purposes of this litigation.
_f; Irby v. Litscher, No 03-C-346, 2004 WL 225079, at *l (W.D. Wis.
Feb. 4, 2004)(imp1ementing a similar restriction); LeFave v.
Symbios[ Inc., No 99-Z-l2l7, 2000 WL 1644154, at *5 (D. Colo. Apr.
14, 2000) (medical records to be disclosed pursuant to a
confidentiality order).

In addition to the privacy interest, the Court must also
consider the relevancy' requirements of Federal Rule of Civil
Procedure 26. Bray argues that Defendants’ request is overly broad
in that it is not limited to records made after January 23, 2004.
A court may limit the temporal scope of an overly broad request.
gee Sonnino v. Univ. of Kansas Hoso. Auth., 220 F.R.D. 633, 654 (D.
Kan. Mar. 31, 2004)(limiting discoverable information to a two year
period); cf. Erotic Res., Inc. v. Dobson Aviation, Inc., No. 00-
2099, 2001 WL 395397, at *3 (D. Kan. Apr. 11, 2001)(unpublished)
(allowing discovery of financial information over a seven year
period without considering a temporal limitation).

Bray alleges that he suffered a broken back when he fell in
the shower on February 6, 2004, and that the Jail officials failed
to treat him properly. However, there may be info revealing a
preexisting back condition, which would.be relevant to the offense.
With respect to Bray's urination problems, it is not clear when
these control problems originated, and therefore, the Court will

not limit the discoverable material to a certain time period.

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III. CONCLUSION

For the reasons above, Defendant's motion is GRANTED in part.
At the request of counsel for either party, health care
professionals and facilities shall release Gregory Bray's medical
records related. to his back and spinal cord, and. any Inedical
records related to his inability to control urination. Counsel
obtaining these records must keep the records confidential, but may
permit examination by'a party, consulting and retained experts, and

other agents acting on behalf of counsel.

IT Is so oRDERED. __________R\

TU M. PHAM
United States Magistrate Judge

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Date

 

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